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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY
    ____________________________________
    IN RE: JOHNSON & JOHNSON             : MDL No. 2738
    TALCUM POWDER PRODUCTS               : Civil Action No.: 16-2738(FLW)
    MARKETING, SALES PRACTICES :
    AND PRODUCTS LITIGATION             :         ORDER
                                        :
    ____________________________________:

          THIS MATTER having been opened to the Court by P. Leigh O’Dell, Esq. and

    Michelle A. Parfit, Esq., counsel for individual consumer-plaintiffs (“Plaintiffs”), on

    various motions to exclude defendants’ experts, and by Susan M. Sharko, Esq.,

    counsel for Johnson & Johnson, Johnson & Johnson Consumer Inc. f/k/a Johnson &

    Johnson Consumer Companies, Inc., and Thomas P. Locke, Esq., counsel for Personal

    Care Products Council (collectively, Defendants”), on competing motions to exclude

    plaintiffs’ experts; it appearing that both parties filed opposition briefs to the motions;

    it further appearing that the Court held a Daubert hearing on July 23, 2019 through

    July 31, 2019, wherein Plaintiffs’ experts, Dr. Ghassan Saed, Dr. William Longo, Dr.

    Arch Carson, Dr. Anne McTiernan, and Dr. Daniel Clarke-Pearson, provided

    testimony, and defense experts, Dr. Benjamin Neel, Dr. Gregory Diette, and Dr.

    Cheryl Saenz, also appeared; it appearing that instead of calling every expert

    challenged by the motions, the parties selected these experts as representatives of

    each field of science involved in this case; it appearing that after the hearing, the

    parties submitted post-hearing briefs; it appearing that the Court having considered

    the parties’ extensive submissions and counsel’s arguments in connection with the

    motions, the Court renders its decision only with respect to the motions to exclude

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    concerning each of the experts who testified; accordingly, for the reasons set forth

    herein, and for good cause shown,

          IT IS on this 27th day of April, 2020,

          ORDERED that Defendants’ Motion to Exclude the Expert Testimony of Dr.

    Saed is GRANTED in part and DENIED in part. Dr. Saed’s testimony is limited to

    his opinion and testing that talcum powder causes inflammation and oxidative stress.

    Dr. Saed is not permitted to opine as to any connection between talcum powder use

    and ovarian cancer; it is further

          ORDERED that Defendants’ Motion to Exclude the Testimony of Dr. Longo is

    GRANTED in part and DENIED in part. Dr. Longo is permitted to opine as to his

    findings of asbestos in Defendants’ talcum powder products based on his TEM

    analysis; however, any opinions based on his PLM analysis are excluded. Further,

    his opinion that women who used talcum powder products were exposed to asbestos

    is excluded as unreliable; it is further

          ORDERED that Defendants’ Motion to Exclude the Testimony of Plaintiffs’

    General Causation Experts—Drs. McTiernan, Carson, and Clarke-Pearson, is

    GRANTED in part and DENIED in part. Plaintiffs’ General Causation Experts will

    not be permitted to testify as to their secondary theory of biological plausibility—i.e.,

    that ovarian cancer may be caused by inhalation of talcum powder that travels

    through the lymphatic system to the ovaries. They may otherwise testify as to their

    opinions on all other Bradford Hill factors; it is further

          ORDERED Plaintiffs’ Motion to Exclude the Testimony of Dr. Diette is



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    DENIED; it is further

          ORDERED that Plaintiffs’ Motion to Exclude the Testimony of Dr. Saenz is

    DENIED; it is further

          ORDERED that Plaintiffs’ Motion to Exclude the Testimony of Dr. Neel is

    DENIED; and it is further

          ORDERED that the reasoning in the Court’s Opinion filed herewith, applies

    with equal force to the remainder of the pending Daubert motions; and, in that regard,

    the parties are directed to confer and raise any issues, in a joint submission, with

    respect to specific experts, e.g., qualifications, that are not covered by this Opinion,

    within 45 days of the date of this Order.




                                                          s/ Freda L. Wolfson
                                                          Freda L. Wolfson
                                                          U.S. Chief District Judge




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